     Case 3:24-cv-00470-B Document 30 Filed 08/07/24              Page 1 of 11 PageID 1468



                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


    FFGGP, INC.,                     §
    as Trustee                       §
                                     §
          Plaintiffs,                §
                                     §
    v.                               §                           Civil Action 3:24-cv-0470-B
                                     §
    DEUTSCHE BANK NATIONAL TRUST §
    COMPANY, AS TRUSTEE FOR THE      §
    REGISTERED HOLDERS OF SOUNDVIEW §
    HOME LOAN TRUST 2008-1,          §
    ASSET-BACKED CERTIFICATES SERIES §
    2008-1 BY OCWEN LOAN SERVICING, §
    LLC ITS ATTORNEY IN FACT         §
                                     §
          Defendant.                 §


            RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                                AND
      REPLY TO RESPONSE TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


    TO THE HONORABLE JUDGE OF SAID COURT:

           Plaintiff suggests that the key to this case is the erroneous assertion by DEUTSCHE

    BANK that: “FFGGP has not furnished any evidence proving that Deutsche Bank Trustee

    accelerated the debt in 2019”. 1 This statement ignores Exhibit 1-I to Plaintiff’s Motion: a

    “Notice of Posting and Sale” sent by Deutsch’s foreclosure counsel on January 4, 2019, and the

    Notice of Foreclosure Sale posting the property for sale on February 5, 2019. Attached to that

    correspondence to the borrower is the Default Order rendered under Rule 736, Tex.R.Civ.Pro.,

    dated December 16, 2015.

          Contrary to the bank’s wrong statement that the loan was not accelerated in 2019, the

1
    Page 2, DKT 25

      Reply - Motion for Summary
    Case 3:24-cv-00470-B Document 30 Filed 08/07/24                            Page 2 of 11 PageID 1469



evidence is uncontradicted that it was accelerated. Further, Defendant provides no evidence that

the acceleration was abandoned. In fact, in Plaintiff’s Request for Production, such category of

documents was requested, and none were provided.

         Deutsche insists that the claim brought here, that the 2019 acceleration of its note prevents

it from now enforcing the deed of trust, is barred by res judicata because of the judgment in its

favor rendered in the second case brought. This argument fails. That case was brought before

2019 and decided before 2019, and therefore it could not have addressed or precluded claims

based upon limitations accruing in 2019 and terminating the powers of sale in 2023.

         Deutsche makes another incorrect assertion of fact. Deutsche insists that the loan was not

accelerated again after an abandonment of acceleration issued in 2015. The property was posted

for sale on January 25, 2016, for the March 1, 2016 sale. 2

         Deutsche correctly notes that these parties were litigating the issue of limitations in the

County Court at Law #2, Kaufman County, Texas, and that the case was dismissed for want of

prosecution. 3 At issue in that case was a 2015 acceleration. There was no judgment on the merits.

Before the case was dismissed both parties filed Motions for Summary Judgment. The court did

not address the motions before dismissing the case. In that case Plaintiff did not put in issue the

2019 acceleration because the case was filed before that could have been an issue.

                                     RES JUDICATA CANNOT APPLY

         The elements of res judicata: “Four elements must be met for a claim to be barred by res

judicata: “(1) the parties must be identical in the two actions; (2) the prior judgment must have

been rendered by a court of competent jurisdiction; (3) there must be a final judgment on the

merits; and (4) the same claim or cause of action must be involved in both cases.” In re Ark–La–

Tex Timber Co., 482 F.3d 319, 330 (5th Cir.2007).” Oreck Direct, LLC v. Dyson, Inc., 560 F.3d

2
  See Exhibit 1-A. In the unlikely event that Deutsche was unable to locate this in their archives, these documents were
produced to it by Plaintiff in the earlier litigation.
3
  Both parties moved the court to reinstate the case. The court denied the motion.

    Reply - Motion for Summary
    Case 3:24-cv-00470-B Document 30 Filed 08/07/24                           Page 3 of 11 PageID 1470



398, 401 (5th Cir. 2009). The first three elements are present. The fourth element is not present

because the same issue is not being litigated. The second lawsuit upon which Deutsche depends

was filed, litigated and concluded before the 2019 acceleration. Issues regarding the compliance

of the loan with the Texas Constitution or other similar issues are certainly off the table at this

point. However, what we have here is a 2019 acceleration that was not the subject of any of the

previous litigation. 4

        “Res judicata does not operate as a bar to litigation when the second claim could not be

raised in the previous litigation.” Barnes v. United Parcel Serv., Inc., 395 S.W.3d 165, 173 (Tex.

App.—Houston [1st Dist.] 2012, pet. denied) In Barnes, the Court held that the claim of res

judicata must fail because the issues in that case were not the same as the issues in the previous

suit. “Because we conclude that the issues decided by the Department of Workers' Compensation

are not identical to those presented in this action for gross negligence, we reverse and remand for

further proceedings.” Id at 169. (See too: “Res judicata does not operate as a bar to litigation

when the second claim could not have been raised in the previous litigation.” Whallon v. City of

Houston, 462 S.W.3d 146, 155–56 (Tex. App.—Houston [1st Dist.] 2015, pet. denied)

        In conclusion, the summary judgment evidence is uncontradicted that the underlying

mortgage note was accelerated in 2019. There is no evidence that the acceleration was

abandoned. Therefore, Plaintiff is entitled to summary judgment.

        DEUTSCHE urges 5 that FFGGP provided no evidence of a 2019 acceleration. The

provenance of this assertion is unclear, as the January 4, 2019 Notice of Posting and the Notice of

Sale were issued by it (or at its behest) and has been proffered by Plaintiff in its motion.6 FFGGP

cannot explain, and DEUTSCHE does not explain, why it failed to produce evidence of the


4
  As discussed in the Motion, the third case was based upon the 2015 acceleration. During that litigation Deutsche
never produced any evidence of abandonment. Rather, it relied upon the theory of subrogation.
5
  Page 20 of its Memorandum
6
  The documents are reproduced here, again, as Exhibit 1-B

    Reply - Motion for Summary
    Case 3:24-cv-00470-B Document 30 Filed 08/07/24                      Page 4 of 11 PageID 1471



abandonment of the 2015 acceleration upon which it now so heavily relies while the parties were

litigating the earlier Kaufman County case. 7 But this is moot now, inasmuch as it re-posted the

property in January 2019.

                                      TENDER IS A NON-ISSUE

        Finally, DEUTSCHE urges that because there is no evidence that FFGGP tendered the

amount due under the note it is now precluded from seeking relief. It cites a case that tender is

required on sums owed on the note. 8 However, in this case FFGGP insists that the deed of trust is

now unenforceable. It would be a fool’s errand to pay off a note that cannot be enforced, and it

would be a most unusual precept in the law to require payment of an unenforceable obligation as a

condition precedent to a determination that the obligation is unenforceable.

                                              CONCLUSION

        Res judicata does not apply and cannot apply because the facts made the basis of

Plaintiff’s suit did not exist at the time of the earlier litigation. The summary judgment evidence

conclusively shows the acceleration and there is no evidence of abandonment. The issue of tender

is a non-issue as tender cannot be required to litigate the enforceability of a note.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court grant its

Motion for Summary Judgment and deny Defendant’s Motion for Summary Judgment.

                                                  /s/ Kenneth S. Harter
                                                  Kenneth S. Harter
                                                  State Bar ID 09155300

                                                  LAW OFFICES OF KENNETH S. HARTER
                                                  6160 Warren Pkwy Suite 100
                                                  Frisco, Tx. 75034
                                                  (972) 752-1928
                                                  Fax (214) 206-1491
                                                  ken@kenharter.com

7
  As explained in the Motion for Summary Judgment, this document was not produced until DEUTSCHE filed its
Motion for New Trial in the state court.
8
  Cook-Bell vs. Morg. Elec. Registration Sys., Inc., 868 F.Supp 2nd 585, 591 (N.D. 2012)

    Reply - Motion for Summary
   Case 3:24-cv-00470-B Document 30 Filed 08/07/24                Page 5 of 11 PageID 1472



                                             Attorneys for Plaintiff


                                  CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was served on counsel of record on August 7,
2024, via the ecf system.

                                             /s/ Kenneth S. Harter
                                             Kenneth S. Harter




   Reply - Motion for Summary
   Case 3:24-cv-00470-B Document 30 Filed 08/07/24                Page 6 of 11 PageID 1473




                                            EXIBHIT 1

                      UNSWORN DECLARATION MADE PURSUANT TO
                                 C.P.R.C. §132.001
STATE OF TEXAS
COUNTY OF COLLIN

        My name is KENNETH S. HARTER. I am above the age of 18. I am competent to make
this Declaration. All facts stated herein are within my personal knowledge and are true and
correct.

       Attached hereto and marked Exhibit 1-A is a true and correct copy of the foreclosure
posting for the property the subject of this suit for March 1, 2016.

        Attached hereto as Exhibit 1-B is a true and correct copy of the Notice of Acceleration and
Sale for 2019.

        I had represented FFGGP in the third lawsuit in Kaufman County Court at Law. During
that case Defendant never produced any document indicating an abandonment of the 2015
acceleration. During the litigation it relied upon the argument that it was entitled to enforce the
original, purchase money deed of trust, based upon principles of subrogation. The letter purporting
to abandon the 2015 acceleration was not produced by the bank until it filed its Motion for New
Trial in this case, before it was removed to this Court.


       .

                                             /s/ Kenneth S. Harter
                                             Kenneth S. Harter

                                              JURAT

        My name is KENNETH S. HARTER. My date of birth is 02/19/1954. My business
address is 6160 Warren Pkwy, Suite 100, Frisco, Tx.,.75034. The forgoing is made under penalty
of perjury, and is true and correct. Signed on August 7, 2024.


                                             /s/ Kenneth S. Harter
                                             Kenneth S. Harter




   Reply - Motion for Summary
Case 3:24-cv-00470-B Document 30 Filed 08/07/24   Page 7 of 11 PageID 1474



                               EXHIBIT 1-A




Reply - Motion for Summary
Case 3:24-cv-00470-B Document 30 Filed 08/07/24   Page 8 of 11 PageID 1475
Case 3:24-cv-00470-B Document 30 Filed 08/07/24   Page 9 of 11 PageID 1476




                               EXHIBIT 1-B




Reply - Motion for Summary
Case 3:24-cv-00470-B Document 30 Filed 08/07/24                                    Page 10 of 11 PageID 1477

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                                 Mackie Wolf Zientz & Mann,P.C.
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    1 !-00!5St>-<>"'(»-6
    Januan 4. 2014
    cert'mail
    FFGGP. INC...AS TRUSTEE FOR EAST O.ARLAWN !0j!6 LAND TRUST
    4090 SRILLMAN STREET.SUITE 1S2-A PMB 3';2
    D.ALLAS. TX T,>243

    RE:      PROPERTA":           1036 E.AST OAKL.AW N DR|\ E. TERRELL TX 75160
             MU ZM No.:           1 l-00!5S0-67tV6

                                        NOTICE OF FORECLOSURE SALE
   Dear FFGGP.INC...AS TRUSTEE FOR E.AST O.AK.LA\\ N 1036 LAND TRUST.

   NlT^nVA'rTPn=x"?lAG.?5^^^                            SER\TCING. LLC. Mongage Servic-er for DEUTSCHE BANK
   RArfcn CERT FICATES. SERIES 2008-1.
   BACKED                       TRUSTEE     FOR SOLFNDN'IEW
                                       the eurrcni Mortgagee of HOME   LOAN
                                                                a Note and   TRUST
                                                                           Deed       2008-1.
                                                                                of Tnisi relatedASSET-
                                                                                                  to the
  aooL e referenced loan. .A sen.icing agreement between the Mongagee. whose address is:
                  bank NATIONAL TRUST COMPANY. AS TRUSTEE FOR SOUNDVIEW HOME LOAN
  TRUST 2008-1. ASSET-B.ACKED CERTIFICATES. SERIES 2008-1
  C O OCWEN LO.AN SERVICING. LLC
  1661 WORTHINGTON ROAD.SUITE 100
  WEST PALM BEACH.PL 33409

 and the Mortpge Servicer authorizes the Mortgage Servicer to collect the debt. We have been employed by our
 client to represent it in collecting the indebtedness and enforcing the Deed of Trust. We are sending you this notice
 as you may have an interest in the property.

 On 02'05.'2019 the Trustee or Substitute Trustee will sell to the highest cash bidder, the property legally described
 in the enclosed Notice of Foreclosure Sale. The sale will occur at the Kaufman County Courthouse in tlie area
 designated by the Kauftnan Count\' Commissioner's Court, or if no such area ha.s been designated by the
 Commissioner's Court then in the usual and customao' location in that County. We have enclosed a copy of the
 Notice of Foreclosure Sale, which is being posted at the Kaufman County Courthouse in accordance with Texas law
 and the provisions of the Deed of Trust.

                  rKi^        I i OUR RIGHTS .AS            MEMBER OF THE ARMED FORTES OF THF UNITED
 states, if VOU are or your SPOtl.SF IS SERVINC ON ArTIVF Mil itapv n.ixv .N.r-. ...x.mo
.ACTIVE AllLlTARV DUTY ASA .MEMBER OF THE TEXAS NATION'AI fHlARD OR THF NATION A!
GU ARD OF ANOTHER STATE OR .AS .A MEMBER OF .A RESERVF, COMPONENT OF THF. ARMF.D
FORCE.S OF THE UNITED ST.ATES. PLEASE SEND WRITTEN NOTICF. OF THF ACTIVE DUTY
military SERV ICE TO THE SENDER OF THIS NOTICE IMVIEDIATEI V.

                                                        Sincerely yours.


                                                         <gL_

                                                        Mackie WoifZientz & Mann, P.C.
                   Notice of Foreclosure Sale




FFGGP vs. DEUTSCHE                                              0102                                       Document Production
 Case 3:24-cv-00470-B Document 30 Filed 08/07/24                                     Page 11 of 11 PageID 1478



                                       NOTICE OF FORECLOSURE SALE



         FORCES OF THE UNtl ED STATES, PLEASE SEND WRITTEN NOTICF OF THE ACTIVE Dl TV
         MILITARY SERVICE TO THE SENDER OF THIS' NOTICE
                                                 NOTICE IMMFDl atfi v
                                                        IMMEDIATELY.       i i e, uu l y
         1. Property to Be Sold. The property to be sold is described as follows;

        BEING LOT 70 OF WINNERS CIRCLE ADDITION, AN ADDITION IN KAUFMAN COUNTY TEXAS
        ACCORDING TO THE MAP THEREOF RECORDED IN CABINET 2 PAGE 143 PLAT RECORDS OF
        KAUFMAN COUNTY, TEXAS. RATIFICATION OF SAME RECORDED IN VOLUME 1232 PAGE 829
        DEED RECORDS OF KAUFMAN COUNTY,TEXAS.
        2. Instrument to be Foreclosed. The instrument to be foreclosed is the Deed of Trust dated 07/16/2007 and
        recorded in Book 3212 Page 230 Document 2007-00017611 real property records of Kaufman County, Texas.
        3. Date, Time, and Place ofSale. The sale is scheduled to be held at the following date, time, and place:
        Date:   02/05/2019

       Time:    10:00 AM

       Place: Kaufman County Courthouse, Texas, at the following location: THE FRONT STEPS OF KAUFMAN
                COUNTY COURTHOUSE OR AS DESIGNATED BY THE COUNTY COMMISSIONER'S OFFICE or
                as designated by the County Commissioners Court.
       4. Terms ofSale. The sale will be conducted as a public auction to the highest bidder for cash. Pursuant to the deed
       of trust, the mortgagee has the right to direct the Trustee to sell the property in one or more parcels and/or to sell all
       or only part of the property. Pursuant to section 51.009 of the Texas Property Code, the property will be sold in AS
       IS, WHERE IS condition, without any express or implied warranties, except as to the warranties of title, if any
       provided for under the deed of trust.

       5. Obligations Secured. The Deed of Trust executed by JUDY CARTER AND DOROTHY SMITH, provides that it
       secures the payment of the indebtedness in the original principal amount of $161,825.00, and obligations therein
      described including but not limited to (a) the promissory note; and (b) all renewals and extensions of the note
      DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR SOUNDVIEW HOME LOAN
      TRUST 2008,-1, ASSET-BACKED CERTIFICATES,SERIES 2008-1 is the current mortgagee of the note and deed
      of trust and OCWEN LOAN SERVICING, LLC is mortgage servieer. A servicing agreement between the
      mortgagee, whose address is DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR
      SOUNDVIEW HOME LOAN TRUST 2008-1, ASSET-BACKED CERTIFICATES, SERIES 2008-1 do OCWEN
      LOAN SERVICING, LLC, 1661 Worthington Road, Suite 100, West Palm Beach, FL 33409 and the mortgage
      servicerand Texas Property Code § 51.0025 authorizes the mortgage servieer to collect the debt.
      6. Order to Foreclosure. DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR
      SOUNDVIEW HOME LOAN TRUST 2008-1, ASSET-BACKED CERTIFICATES, SERIES 2008-1 obtained a
                       ^^LINFY COURT AT LAW 2 - Kaufman of Kaufman County on 12/16/2015 under Cause No.
      93568-CC2. The mortgagee has requested a Substitute Trustee conduct this sale pursuant to the Court's Order.
      7. Suhstilute Trustee(s) Appointed to Conduct Sale. In accordance with Texas Property Code See. 51.0076, the
      undersigned attorney for the mortgage servieer has named and appointed, and by these presents does name and
      appoint RANDY DANIEL, CINDY DANIEL, JIM O'BRYANT, CARL NIENDORFF, MICHAEL W. ZIENTZ,
      Donna Stockman or David Stockman, Substitute Trustee to act under and by virtue of said Deed of Trust.
                                                 SUBSTITUTE TUU.STEEIS) IDENTIFIED TO SELL THE PROPERTY
                               ''•■^CURirY INSTRUMENT IDENTIFIED IN IHIS NOTICE OF SALE. THE PERSON
                                               '^'^'ORNEY OR AUTHORIZED AGENT OF THE MORTGAGEE OR
     iViUK I (jAOL oERVICER#




     11-001580-670-6 // 1036 EAST OAKLAWN DRIVE, TERRELL, TX 75160




FFGGP vs. DEUTSCHE
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